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as any realistic sign of a religious agenda. v. 36; p. 57:18—p.
60:11.

I, This view of the matter also jibes the facts surrounding the meeting of
Baksa, Bonsell, and the science faculty in the Fall of 2003. D FF
134-148.

i. Baksa testified that Bonsell’s expressed concerns were based
upon science, not religion, and focused on the origins of life.

il. Teachers told Bonsell that they did not teach the portion of ET
that he saw most problematic given his personal reading in
science.

iti. | When Bonsell met with teachers in the Fall of 2003 he learned
that they too saw some relationship between ET and
Creationism. More specifically, teachers told him that they
mentioned Creationism to students but did not teach it; and
they told students with questions about origins of life to speak
with their family about the issue.

iv. The only thing Bonsell remembers from this meeting is that he
came away from the meeting glad that teachers mentioned

Creationism but did not teach it; and he was also pleased that

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teachers did not tell students Creationism was wrong, which
Plaintiffs expert Brian Alters indicates would be improper. v.
14 (Alters); p. 86:14—p. 90:8. See D-FF 148°

V. Bonsell’s honest recollection is in keeping with a legitimate
interest he might have concerning whether and how
Creationism was addressed.

vi. Further, teachers believed Bonsell’s concerns had been
addressed.

vu. Bonsell’s actions speak volumes here for his conduct shows
that whatever interest he did have was satisfied by this meeting
because he never asked for any change to the biology text or
curriculum.

m. Based upon this recognition of a natural relationship and legitimate
interest recognized by the faculty, administration, the Pennsylvania
School Board, Plaintiffs experts, and others, and the result of the
meeting, (i.e., Bonsell offered no criticism fo the teachers and never

called for any change to the biology text or curriculum), it appears to

 

“The Court also notes that it is obviously this wholly proper interest-the only thing in evidence which
Bonsell can remember about the issue—that provides the basis for counsel’s recognition that Bonsell had some
interest in Creationism and whether and how it was mentioned.

 

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this Court—and the Court finds—that various witnesses were assuming

that Bonsell was talking about teaching Creationism when he

 

mentioned teaching other theories.

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As Baksa testified, Spahr appeared to assume that Bonsell’s
reference to teaching “other theories” was a reference to
teaching Creationism based upon information that she received
from Baksa. v. 35; p. 58:1-24.

It also appears that Barrie Callahan made a similar assumption
in her notes. Again, she did not remember Bonsell mentioning
Creationism until she found notes said to be made at the time of
the March 2003 Board/Administration Retreat) to assume that
Bonsell was referring to teaching Creationism when he
referenced teaching other theories 50/50.

In contrast, Baksa remembers Bonsell raising the possibility of
teaching “other theories” but never raising the teaching of
Creationism.

It also appears that the science faculty jumped to the conclusion
that Bonsell was interested in teaching Creationism based upon

the information that Baksa provided to them about Bonsell’s

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Vi.

views—consistent with the assumption Spahr had made earlier
in the year.

Significantly, although teachers came prepared to meet a
demand that they teach Creationism, not one teacher has
testified that Bonsell made that demand—or even raised the
issue of teaching Creationism—during in the Fall 2003 meeting.
In contrast, both Bonsell and Baksa have testified that they
were surprised when the teachers devoted so much attention to
the issue precisely because neither Bonsell or Baksa came to
the meeting with the goal of teaching Creationism.

Moreover, although Plaintiffs seek to characterize this meeting
as a “confrontation” the evidence shows that all the individuals

involved did not see it as a confrontation.

Confirming this view of the matter is the simple fact that Baksa

worked dealt with Bonsell from 2002 onward and testifies that there

was never any direction to teach Creationism but there was discussion

of teaching other theories. D FF 149.

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In contrast, the weight of the evidence shows that any reference

Bonsell made to teaching other theories must be seen as a reference

to ID, a theory which he understood to be scientific (not religious).

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IV.

Bonsell has made it clear that he did not want Creationism
taught but he did believe ID was a scientific theory which
could be taught.

Others have acknowledged that Bonsell discussed ID and
Creationism as two different things.

Baksa and Bonsell were surprised when the faculty discussed
the illegality of teaching Creationism during the Fall 2003
meeting because no one was talking about teaching
Creationism.

Rehm has acknowledged that ID may have come up at the Fall
2003 meeting.

Buckingham has testified that he learned about ID from
Bonsell around the time that he was appointed chair of the

BCC.

Moreover, the action of Bonsell and the Board demonstrates that they

were determined not to violate the law.

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Court notes that, as Baksa has testified he would have seen any
call for the teaching of Creationism as a non-starter since this is
illegal. v. 35; p. 61:4-16.

For his part, Jeff Brown, a witness favorable to the Plaintiffs.
testified that Bonsell had an interest in Creationism but would
not do anything illegal.

BCC members directed Baksa to determine if Pandas was being
used in public schools or had produced litigation.

Members of the Board sought advice of counsel, which they
shared with teachers to show that the course contemplated by
the Board was not illegal.

Even Buckingham’s statement to Spahr at the October 18, 2004
shows a disregard for Spahr’s legal opinion which, while
discourteous, was understandable.

If the Board were determined to pursue a course of action
without regard for the consequences, then there was no need to
ask anyone for their opinion or do any due diligence. But the
Board did both, which leads this Court to conclude that they

were proceeding in good faith in an area of the law that is

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unclear to say the least and with reference to a theory which
appears on its face to be scientific in nature.

vil. Finally, Bonsell’s interest in Creationism has no meaningful
relationship with the Board’s current policy which prohibits the
teaching of Creationism.

q. For all these reasons, it appears from the weight of the evidence that
Bonsell’s interest in Creationism was not an interest in having it
taught. It further appears that Bonsell’s interest in Creationism
related to the wholly legitimate concern that teachers might be
mentioning Creationism and telling students it was wrong. This
wholly legitimate concern (recognized by many as noted above),
when taken with Bonsell’s stated concern that teachers might be
teaching a scientific theory as fact, which Baksa remembers (and
which could also create a needless conflict between science and
religion), provide a readily understandable basis for the comment,
remembered by Jen Miller, that depending on how the science faculty
approached the matter, students might have the impression that

somebody is lying. See P-FF 155. This makes sense to in light of the

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fact that Bonsell’s concerns were addressed by the Fall 2003 meeting
and he did not call for any change to the biology curriculum.

r. For these same reasons the Court finds that Bonsell’s interest in any
teaching of other theories was an interest in ID, a theory he
mentioned to Buckingham when Buckingham became head of the
BCC in 2004 for the reasons stated above.

Contrary to P-FF 160 & 161, the Court finds that the Plaintiffs have not

proven that the curriculum policy has actually caused any limitation on

classroom instruction except that barring discussion of ID, Creationism, and
religion, as part of the Board’s effort to address faculty concerns and

objections. D FF 610-629.

a. The board did not direct any changes which teachers made to
classroom instruction in the exercise of their discretion. Baksa
understands that teachers were left with discretion concerning
whether their teaching practice was consistent with the curriculum
policy. v. 36; 5:3-p. 6:24. Baksa also understands that the curriculum
language did not impose any actual limitation on instruction. v. 36; p.
9:23—p. 10:5. This shows that there was no board purging of

offensive material from the classroom. Quite the contrary, here the

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board trusted the teachers to act responsibly—and add mention of ID
as required by the policy.

b. At the end of the day Board members made numerous concessions to
address the teachers concerns and the instruction in the classroom
was understood to be the same but for the statement. v. 36; p.
51:16—p. 52:9.

C, In this regard, the whole notion that the Defendants’ goal was to hold
ID (which the Plaintiffs believe the board members understood to be
a religious doctrine) out as science is undercut by the statements use
of the terms “theory” to describe ET and the description of ID as an
“explanation” at the suggestion of Jen Miller. D FF 477. If the board
members were bent on false—billing they would have objected to such
a distinction.

Contrary to P-FF 162-166, the Court finds that Buckingham’s discussions

with Discovery and the information that he received confirmed

Buckingham’s basis for believing that the Miller & Levine text was flawed

and that making students aware of ID was a legitimate educational goal. D

FF 587-595.

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Contrary to P-FF 166-169, the Court finds that the purchase of a new
biology text was treated just like every other text purchase. D FF 150-157;
177-183;

a. The purchase of a number of science texts, not just biology, were put
off in 2003 for fiscal reasons.

b. Barrie Callahan’s complaints were discounted because they were
believed to be unfounded and, in addition, she was deemed politically
motivated. D FF 16-21; 151-154.

C. The purchase of the biology text was delayed in June 2004 while the
BCC, administration and teachers, discussed Buckingham’s concerns.

d. Significantly, the comparison of the 2002 and 2004 editions of Miller
& Levine, led Baksa and the teachers to note changes that addressed
in some measure the issues raised by Buckingham accrediting his
complaints. D FF 274-276.

e. Finally, the Court finds any inference that the board held up the texts
due to objections to ET is untenable. If the Board had really wanted
to put off the purchase science texts it could have done so quite easily

by making the Science Department wait for a whole rotation of the

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curriculum cycle. It never made any move in that direction. D FF

165-167.
Contrary to P-FF 170-177, the Court finds that the Plaintiffs have failed to
prove that board members discussed a text presenting Creationism at Board
meetings as an objective of the Board in connection with the approval of the
biology text. The weight of the testimony points to a series of heated
discussions in which persons made statements—or leveled accusations—based
on conclusions they reached on the issue of the board’s motives and purpose
as well as the nature of ID as religious or scientific—and then used language
that reflected their own judgments and agendas (frequently political
agendas). This trial has provided another example of that: experts and lay
witnesses have labeled ID as Creationism or science based on their
judgment and have used terms in keeping with that judgment in their
testimony. D FF 184-244,
a. Board members have testified that they were discussing ID and taking

issue with those who were mischaracterizing the Board’s discussion

as one concerning the teaching of Creationism.

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b. Buckingham admits that he used the term Creationism on at least one
occasion but he testifies that he did so in circumstances where he was
flustered.

c. Nilsen and Baksa have testified that there was no mention of a text
presenting Creationism or teaching Creationism.

d. Indeed Baksa was surprised when Buckingham mentioned
Creationism because he had not heard this term before.

e. The reporters’ testimony cannot be credited on these points.

i. At the very least, the news reporters covering these meetings
made a judgment that ID was Creationism and continued to
describe ID as Creationism no matter what the board said
throughout this period.

i. Further, the reporters perfect recall of these statements strains
credulity.

f. As for the Plaintiffs it is evident that they have motive and bias
needed to adopt wholesale the mischaracterizations in the press
clippings.

1. Barrie Callahan was a partisan critic of the board (as testified to

by Jeff and Casey Brown) and Fred Callahan is her husband.

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il.  Jeffand Casey Brown are disgruntled board members who
made the same sort of accusations that the reporters did. D FF

15, 29.

(1) In this regard, Casey Brown’s effort to portray private
conversations with board members as indicating that
they were using religion as an acid-test of public service
is unworthy of credence and indicates that she has a
personal animosity towards members of the board. v. 8;
p. 3:10—p. 9:6

(2) The Court also disregards as incredible her claim that
board members told her she was going to hell or the
claim, offered for the first time at trial, that Buckingham
accused her of being an atheist. v. 8; p. 32:8 p. 34:18.

iil. Bryan Rehm and his wife are plaintiffs in this action who has
an interest in prevailing—just like all the other Plaintiffs.

In sum, the Court concludes that the notion that board members

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actually considering teaching Creationism just does not have enough
factual support to justify a finding that the board was bent on a goal

that was plainly illegal.

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Contrary to P-FF 178--188, the Court finds that the June 2004 meeting of

the BCC does not represent a “morphing” or change in focus by the BCC.

Information and materials from Discovery Institute were already in the mix.

a.

There is no question that Buckingham was focused on flaws in the
presentation of ET—but the evidence shows that the information he
provided was a scientific criticism of ET and information about ID
which he had received from Discovery Institute.

The materials from Discovery Institute had already been received.
The Court notes that Plaintiffs proposed findings here appear
contradictory. On the one hand, they maintain that teachers had
already reviewed at least some of the materials that Buckingham
received from Discovery, see P-FF 186, on the other they seem to
imply that neither Buckingham nor Baksa were familiar with these
materials.

Buckingham did not even know about the existence of the mural until
June of 2004 and did not know it was destroyed. v. 30; p. 60:21-—p.

62:5.

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e. When Baksa talked about a text with a presentation of ET that was
more acceptable to board members he was focused on the criticisms
they had advanced in terms of science. As he made very clear, he was
not looking for a text with Creationism. D FF 269.

f. The Plaintiffs effort to make much of Baksa’s print out P-136 is not
supported by the evidence. As Baksa and Miller agree, there was no
discussion of this text because it was plainly inappropriate for a
public school. D FF 255,

g. The Plaintiffs effort to make much of P-149 is not supported by the
evidence. D FF 215.

1. The only person who actually remembers discussion of the
document is Sheila Harkins, who provided it. The only
discussion of the document in evidence is that Harkins showed
it to the Browns to note that, according to this chart, both
Darwin’s theory of evolution and ID seemed to believe in an
intelligent designer. This explains why she did not see any big
deal in discussing ID and did not see ID as religious. Again,

this is the only evidence of any discussion of the document.

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i. And Harkins’ notion that ET and ID were similar is consistent
with much of the evidence which tends to show that various
people just regarded ID as another theory of evolution. See
D-—1; D—60, 61 & 68 (all evidencing the treatment of ID as one
among “other theories of evolution.”).

h. Harkins testimony here is also consistent with the recollection of Jeff
Brown who recalls Harkins opinion about Pandas was based on the
view that Pandas was an eye-opening book concerning problems with
ET. See P-FF 199. And Harkins made this statement even though
ET poses no problem for her based upon her religious convictions.

i. This goes to show that the Plaintiffs are making an argument that
imputes knowledge to the Board based upon a document only one
board member voting for the change discussed—for a purpose wholly
different from that argued for by the Plaintiffs.

j. Finally, the effort to make much of Buckingham’s desire that teachers
review the Icons of Evolution video is wholly misplaced. If anything
this shows that Buckingham was not interested in dictating to the
faculty; he was trying to persuade them about the scientific merits of

the scientific criticism of ET that he had come across after pursuing

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Bonsell’s mention of ID. This is hardly evidence of a plan to ram
through an unlawful agenda.

Contrary to P-FF 189--190, the Court finds that Geesey’s purpose in writing

her letter to the editor was to rebut a false charge that the Board was

actually teaching Creationism and to make it clear that in her view it was up
to Plaintiff Eveland to teach religion as she saw fit (including the

Creationism she accused the Board of trying to teach, see P-FF 189; while

also trying to make it clear that the Board was staying true of its policy of

leaving such issues to the family as indicated by Dover’s mission statement.

P—FF 190. It is true that the letter is rather difficult to follow her line of

thought but when the two letters are compared, the point of Geesey’s

response does emerge. D FF 241.

Contrary to P-FF 191-194, the Court finds that no one involved in this

process viewed Pandas as a Creationist text.

a. In this regard, the Court finds yet again that the Plaintiffs’
characterization of the text is based on evidence which has no
connection with the Defendants for the simple reason that there is no
evidence that any Defendant (or anyone any Defendant

communicated with) had any knowledge concerning the origins of the

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text etc. Likewise there is no reason to believe that anyone who
examined Pandas on its face would see it as a Creationist text.
Moreover, as Defendants have demonstrated, the text has manifest
educational merit regardless of how controversial some of its claims
might be to the mainstream scientific community. D FF 314-330.
b. For these reasons, the Court finds that the selection of Pandas as a
supplemental text provides no persuasive evidence that board
members were pursuing a religious agenda.
Contrary to P-FF 195-196. The Court finds that the review and comparison
of the 2002 and 2004 editions of the Miller and Levine text provides no
reason to believe that the BCC or the board as a whole had an improper
purpose. Quite the contrary, the changes to the 2004 edition seemed to
accredit Buckingham’s complaints to Baksa—who had no axe to grind with
ET. D FF 274-76.
Contrary to P-FF 197-201, the Court finds that the vote to delay approval
of text recommended by the science faculty points to no block of board

members bent on a religious agenda.

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a. For one thing, as Plaintiffs concede. Harkins’ interest in Pandas was
based on her impression of the argument—and has no root in her
religious convictions. See P-FF 199.

b. For another, Buckingham’s purported claim to have the votes
necessary to tle up approval of the Miller and Levine text was
exposed for the bluff it was within minutes of the making. D FF
300-315.

C. In fact, the voting defies Plaintiffs’ effort to portray board members
as united behind a religious agenda because Yingling’s vote-switch
plainly has nothing to do with the merits of ID or a belicf that it was
religious not scientific. As she frankly told Rehm, she did not
understand what all the fuss was about and she proceeded to vote for
the curriculum change despite Rehm’s effort to convince her that ID
was religious and she voted for the curriculum change even though
she voted to approve purchase of the science text recommended by
the faculty without approval of Pandas. D FF 562.

21. Contrary to P-FF 203-206, the Court finds that the e-mail highlighted by

Plaintiffs’ counsel does not support the claim that the Defendants’ believed

that ID was Creationism.

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a. As an initial matter, the Court has already ruled that it does not take
the assertion highlighted by the Plaintiffs as a fact. v. 35; p.
105:23—p. 108:13.

b. As Plaintiffs’ counsel conceded at trial, the e-mail obviously does not
amount to an opinion that the use of Pandas contemplated at this time,
Le., use in classroom instruction, was unlawful. v. 35; p.
105:23-25—p. 110:4-11. The Administration saw the issue the same
way. See e.g., v. 35; p. 110:4—p. 111:24.

c. Moreover, the e-mail actually points to the very sort of confusion writ
large throughout this case. For it is evident that the Board solicitor,
plainly relying on newspaper accounts of board meetings (e.g. “My
concern for Dover is that...), is apparently viewing the proposed use
of Pandas as the use of a text involving Creationism (hence the
solicitor’s observation that “They refer to the creationism issue as
Intelligent Design”) while at the same time recognizing that
Thompson conveyed a distinction between Creationism and
Intelligent Design when he spoke with the solicitor. The solicitor
makes this “disconnect” plain when he indicates that Thompson

referred to [what the solicitor saw as a creationism issue] as an issue

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involving “intelligent design.” P-70. Again, this is the very sort of
“talking passed each other” that has occurred throughout this case.
Moreover, the solicitor’s concern with newspaper accounts which
both the Board and Administration regarded as inaccurate (with rare
exceptions that were conceded) demonstrates why the board would
feel free to take this concern for what it was worth—not much in their
estimation. Defendants can be forgiven if they believed that their
decisions would be tried based on the facts of the matter not hearsay

in the form of press clippings.

Contrary to P-FF 207-209, the Court does not find that the teachers

agreement to use Pandas as a reference text provides evidence that the BCC

was bent on a religious agenda.

a.

The teachers may have agreed to use Pandas as a reference but given
their stated fears with being sued for teaching Creationism it is
evident that neither the BCC nor Administration would have any

reason to believe that teachers would agree to use a Creationist text.

D FF 322.

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b. Plaintiffs effort to portray Baksa as directing staff to go to a

Creationist website, P—-FF 209 is a mischaracterization of the

evidence.

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The cited transcript does not support the Plaintiffs’ argument
that Baksa testified that “he directed his secretary to go to the
webpage from the Institute for Creation Research to get
information about Pandas.” Baksa actually testified that either
his secretary or Marsha Hake did the research to get pricing
and publishing information about Pandas and printed this page.
See v. 35; p. 113:9—p. 114:6.

Plaintiffs’ counsel then asked Baksa a question concerning
whether he was aware of information contained on a specific
page of D 35 creating the false impression that Baksa had read
the document [D 35] as opposed to being generally aware of
information that various secretary’s had collected at his
direction generally speaking. This false impression that Baksa
had actually reviewed D 35 was cleared up on redirect as noted
by the Plaintiff. P-FF 209. The net result is to make it clear

that Baksa meant that he was aware that his secretaries had

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collected information but had not read this specific document,
i.e. D 35. v. 36; p. 45:6-14. Any insinuation that counsel
solicited false testimony is wholly improper; the purpose of
redirect is to clear up testimony that leaves a mistaken
impression.
Contrary to P-FF 210-218, the Court finds that the donation of Pandas does
not prove that the Plaintiffs had an unlawful religious purpose. D FF
340-356.
a. Viewed in its entirety the donation was plainly designed to short-
circuit criticism of the board that was deemed politically motivated.
b. The Defendants did not disclose the identity of the donor but there
was no duty to disclose this to Lonny Langione, a politically
motivated foe of the board members. D FF 17—24: Cf P-FF 211.
c. Defendants did disclose the details surrounding this donation in
connection with this litigation as required by law.
d. The Court will not make too much of two answers by Bonsell and
Buckingham who were haled in for depositions on short notice.
1. Bonsell has admitted that he answered one question incorrectly

but the Court notes that the highlighted deposition testimony

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featured a series of questions focused on who donated the
books and Bonsell appears to have answered another question
concerning who was involved in the donation based upon the
line of questioning to that point.

Likewise, Buckingham’s testimony taken as a whole is truthful
insofar as his point seemed to be that he did not literally know
who among his fellow congregation actually put the money in
the box in response to his announcement of the opportunity to
donate at his church. Cf. P-FF 212-213.

The claim that Alan Bonsell used his father as a conduit to
conceal the source of the money does not hold up. His father
volunteered to donate without any understanding that others
would pitch in. Others joined him in this effort but it is
likewise clear that those additional funds passed on to Don
Bonsell did not cover the whole cost of the book.

As for Spahr’s receipt of a catalogue listing Pandas under
“Creation Science,” she testified that she did not pass that on to

the Administration so the Defendants obviously cannot be
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charged with knowledge based upon a document they did not
see. v. 14; p. 36:20—p. 37:9.
Contrary to P—FF 219-223, the Court finds that the conduct of board
members at the October 7, 2004 meeting of the BCC does not support a
claim that the Defendants acted with an unlawful purpose. D FF 331-339;
357-373.
a. As Defendants have pointed out, they met in an effort to work out a
version of the curriculum change.
b. The absence of the teachers at this stage is unremarkable. The

meeting is, after all, a meeting of the Board curriculum committee;

 

teachers had been consulted extensively throughout; and the board
already had a version of the proposed curriculum change before the
board.
Contrary to P-FF 22444, the Court finds that the Board’s decision to adopt
the curriculum change does not support the Plaintiffs’ claim that the Board

adopted its policy for an unlawful purpose or to promote an unlawful effect.

D FF 416-456,
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a. As the Defendants have demonstrated, the events on this evening
were part of a larger effort to make a policy change that would
provide an educational benefit to the students.

b. Deviations from any normal practice were justified by the fact that
two board members were set to resign, which would have made it
necessary to revisit the whole issue yet again after a great deal of
discussion had been had over the last year and were not
unprecedented. D FF 374-416.

C. Plaintiffs make too much of the Board’s rather limited knowledge of
science and its disregard for criticisms.

1. It is true that teachers opposed the change but the Board
discounted the teachers objections believing them to be
unfounded—and based on legal concerns that were not within
the science teachers’ area of expertise. As noted, the science
teachers told the administration that they were not trained in ID
and never advanced any scientific (as opposed to legal)
criticism of the theory. D FF 557.

il. It is true that the Administration opposed the changes, but both

Nilsen and Baksa have testified that they did so for the

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practical reason that teacher objections would make any change
very difficult to implement—an instinct confirmed by the way in
which teachers have actually obstructed the curriculum

policy—not because they disagreed in principle with the Board’s

objective or thought the board’s objective was unlawful.

d. The Court cannot accept the Plaintiffs view of the process that led to

the curriculum policy is insufficient because this just reduces to a

claim that the Defendants were negligent-which is not the issue in

this case.

il.

The absence of further consultation with various science
organizations does not undermine the evidence that the Board’s
purpose was to enhance science education. Reduced to its
essence the Plaintiffs’ findings ask this Court to conclude that
the Board was negligent in relying upon information board
members received as a result of their own research and
personal reading as well as Discovery Institute.

Moreover, the Court finds that the amount of information

possessed by board members was in keeping with the modest

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lil.

iv.

goal they had settled on by the time the policy was actually
adopted, i.e. to make students aware of additional information.
Relatedly, the Court finds that notion that the board members
were not scientists and could not actually vet the scientific
validity of ID but took it (as well as the text Pandas) at face
value proves too much. This lack of technical expertise is
typical and supports the Defendants’ contention that they were
proceeding in good faith, disregarding criticism from teachers
because it seemed to be non-scientific criticism.

For the same reason, the Court refuses to draw any adverse
inference from the fact that certain board members who were
not a part of the BCC relied upon statements and information
made by other board members. This is a policy-making body
and the evidence shows that various board members did have
some basis for their view that ID was science. This is the way
the policy-making process works—certainly there is no evidence
to the contrary.

Put simply, the point of this trial is not whether the board could

have or should have done more by way of background research

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etc., because the system whereby public education is governed
is not on trial here.

e. The evidence does not support the Plaintiffs assertion that there had
been no discussion of [D—only discussion of Creationism—at board
meetings held prior to October 18, 2004. D FF 184-330.

f. The Court rejects the Plaintiffs effort to characterize many months of
proceedings by board members as religious based upon Casey
Brown’s resignation speech.

1. The evidence shows that in this speech Brown wholly twisted
two private conversations with friends for a plainly political
purpose born of personal animosity against board members
who disagreed with her on this issue (other witnesses described
Ms. Brown as intolerant of disagreement with her). D FF 15 &
29.

il. Brown’s stated view that she board members could not discuss
religious beliefs is belied by her own actions—Brown had asked
Harkins questions about her religious beliefs. v. 34 (Harkins);

p. 27:4—p. 29:3.

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ii. Under these circumstances, Brown’s invective must be
discounted as such.

g. As for Wenrich’s speech, one comment by a board member who is
resigning in anger simply cannot undermine all the evidence that
various members of the board spent months trying to build a
consensus around a proposed curriculum change in the face of a great
deal of partisan political conflict.

26. Contrary to P~FF 245-252, the Court finds that the statement was drafted

and read to achieve a legitimate educational purpose. D FF 465-477.

a. Given that the statement was designed to address concerns that
exaggerated claims were being made for ET, a theory with gaps and
problems, as Dover’s’ science teachers and Plaintiffs’ experts have
admitted, the language changes highlighted by the Plaintiffs are
understandable. In this regard, the whole notion that the Defendants’
goal was to hold ID (which they understood to be a scientific theory)
out as a religious concept out as science is undercut by the statements
use of the terms “theory” and description of ID as an “explanation” at

the suggestion of Jen Miller. D FF 477.

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